Case 3:18-cv-04952-VC Document 59 Filed 11/12/18 Page 1of3

Steve Wilson Briggs
4322 Chico Ave.,
Santa Rosa, CA 95407
510 200 3763
snc.steve@gmail.com
PLAINTIFF In Propria Persona
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
Civ No: 18-cv-04952-VC
STEVE WILSON BRIGGS DECLARATION OF MELVIN
a JACKSON, REGARDING SERVICE
Plaintiff OF PROCESS FOR DEFENDANTS
MATT DAMON AND BEN AFFLECK,
VIA THEIR AGENT FOR SERVICE
KEVIN SPACEY; etal OF PROCESS, GARY KRESS

DECLARATION OF MELVIN JACKSON, REGARDING SERVICE OF PROCESS
FOR DEFENDANTS MATT DAMON AND BEN AFFLECK, VIA THEIR AGENT
FOR SERVICE OF PROCESS, GARY KRESS

My name is Melvin Jackson and I declare the following:

I am over 18, and not a party of this action.

I ama resident of Los Angeles County, where the process service took place.

My address is 10998 Sampson Ave. Lynwood, CA. 90262

On October 30th, 2018, I served (2) total envelopes (one for Defendant Matt Damon and
one for Defendant Ben Affleck) to Gary Kress, who is the Agent For Service Of Process for two
of Defendant Matt Damon and Ben Affleck’s personal businesses, namely Pearl Street
Productions, Inc., and Mad Post Productions, LLC. The Plaintiff in this matter, Steve Wilson
Briggs, informed me that according to the California Secretary of State’s current and active
business entity statement for Mad Post Productions, LLC, the business’s Principal Executive

Office address is 2401 Main Street, Santa Monica, CA 90405. The business entity statement also

1
PROOF OF SERVICE
Case 3:18-cv-04952-VC Document 59 Filed 11/12/18 Page 2 of 3

gave this same address as the personal address for Matt Damon, Ben Affleck and the company’s
agent for service of process, Gary Kress.

The details of the service of Matt Damon and Ben Affleck, via their agent for service of
process, Gary Kress, are as follows.

At approximately 3:30 PM, on October 30th, 2018, I entered what appeared to be an
office building, at the address: 2401 Main Street Santa Monica, CA 90405. I was politely greeted
by a woman, whom | assume was the business’s receptionist. I informed the woman that I was
there to serve Summons and Complaint FOR Matt Damon and Ben Affleck, TO registered agent
for service of process, Gary Kress.

The woman informed me that Mr Kress was in his office, in the back. The woman then
went to the back to get Mr Kress.

Mr Kress quickly emerged from his office. I explained, again, that I was there to serve him
Summons and Complaint for Matt Damon and Ben Affleck.

Mr Kress Politely accepted the documents for both Matt Damon and Ben Affleck.
The documents that I delivered to Mr Gary Kress, in two separate parcels for Ben Affleck
and Matt Damon, providing each defendant his own copy of each document, were:

a. Summons In A Civil Action (2)

b. Complaint

c. Civil Cover Sheet

d. Notice Of Availability Of Magistrate Judge To Exercise Jurisdiction

e. Consent Or Declination To Magistrate Judge Jurisdiction

f. Welcome To The Oakland Divisional Office

g. ECF Registration Handout

h. Proposed Order Granting Motion For Permission For Electronic Case Filing

i. Order Setting Initial Case Management And ADR Deadlines

j. Standing Order General (SBA)

k. Standing Order For All Judges OF The Northern District Of California

Standing Order - General (SBA) Patent Case
m. Order Relating Cases (Hon. Judge Vincent Chhabria)

2
PROOF OF SERVICE
Case 3:18-cv-04952-VC Document 59 Filed 11/12/18 Page 3 of 3

n. Reassigned Case - Notice of New Hearing Date - VC
o. Related Case Order

I am not a professional process server.
I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated:___11/01/2018 Signed: Ze :
Me

ackson

3
PROOF OF SERVICE
